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5    Attorney for Defendant
     YONI OVIDIO SOSA
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7
8                         IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )     No. 2:12-cr-370 MCE
                                     )
13                  Plaintiff,       )
                                     )     STIPULATION AND ORDER CONTINUING
14        v.                         )     CASE AND EXCLUDE TIME
                                     )
15   YONI OVIDIO SOSA, et. al.,      )
                                     )     Date: June 13, 2013
16                                   )     Time: 9:00 a.m.
                    Defendants.      )     Judge: Morrison C. England, Jr.
17   _______________________________ )
18        IT IS HEREBY STIPULATED by and among Assistant United States
19   Attorney, Olusere Olowoyeye, counsel for Plaintiff, Assistant Federal
20   Defender Jeffrey L. Staniels, counsel for defendant, YONI OVIDIO SOSA,
21   and Dina Lee Santos, counsel for defendant, JOSE GILBERTO LOPEZ that the
22   status conference now set for June 13, 2013, should be vacated and the
23   matter continued to June 27, 2013, at 9:00 a.m. for status conference.
24        IT IS SEPARATELY STIPULATED by and between Mr. Olowoyeye and
25   Clemente Jimenez, counsel for defendant, ANTONIO NAVARRO SILVA, that, due
26   to Mr. Jimenez’ unavailability on June 27, 2013, that the status
27   conference scheduled for June 13, 2013, be continued until July 18, 2013,
28   with respect to Mr. Silva.     All defense counsel have just received plea
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1    offers which they must disclose to their clients, explain them, and
2    determine the extent to which they are a basis for proceeding, either
3    with entries of plea or with regard to further negotiations.              This
4    continuance is sought in order to permit those aspects of defense
5    preparation and consultation to occur.
6         IT IS FURTHER STIPULATED that the interests of justice furthered by
7    granting this continuance outweigh the interests of the public and the
8    defendants in a speedy trial.
9         IT IS FURTHER STIPULATED that time for trial under the Speedy Trial
10   Act be excluded between June 13, 2013, and June 27, 2013, pursuant to 18
11   U.S.C. § 3161(h)(7)(A) & (B)(iv), Local Code T-4 (time to prepare) with
12   respect to defendants YONI OVIDIO SOSA and JOSE GILBERTO LOPEZ .
13        IT IS FURTHER STIPULATED that time for trial under the Speedy Trial
14   Act be excluded between June 13, 2013, and July 18, 2013, pursuant to 18
15   U.S.C. § 3161(h)(7)(A) & (B)(iv), Local Code T-4 (time to prepare;
16   continuity of counsel) with respect to defendant ANTONIO NAVARRO SILVA.
17            IT IS SO STIPULATED.
18                                           Respectfully submitted,
19   Dated:   June 12, 2013                  /s/ Olusere Olowoyeye
                                             Olusere Olowoyeye
20                                           Assistant U.S. Attorney
                                             Attorney for Plaintiff
21
     Dated:   June 12, 2013                  /s/ Clemente Jimenez
22                                           Clemente Jimenez
                                             Attorney for Antonio Navarro Silva
23
     Dated:   June 12, 2013                  /s/ Dina L. Santos
24                                           Dina L. Santos
                                             Attorney for Jose Gilberto Lopez
25
26   Dated:   June 12, 2013                  /s/ Jeffrey Lewis Staniels
                                             Jeffrey Lewis Staniels
27                                           Assistant Federal Defender
                                             Attorney for Yoni Ovidio Sosa
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1                                            O R D E R
2          Based on the above representations of counsel the court finds that
3    the requested continuances are appropriate and that the interests of the
4    government and the defense in granting this continuance outweigh the
5    interests of the defendants and the public in a speedy trial.               The
6    requested continuances, to June 27, 2013, with respect to defendants YONI
7    OVIDIO SOSA and JOSE GILBERTO LOPEZ, and to July 18, 2013, with respect to
8    defendant ANTONIO NAVARRO SILVA are therefore GRANTED.
9          Time for trial under the Speedy Trial Act, 18 U.S.C. §§ 3161 et.
10   seq., is excluded from June 13, 2013, through June 27, 2013, pursuant to
11   18 U.S.C. §3161(h)(7(A) &(B)(iv) and Local Code T-4 with respect to
12   defendants YONI OVIDIO SOSA and JOSE GILBERTO LOPEZ.
13         Time for trial under the Speedy Trial Act, 18 U.S.C. §§ 3161 et.
14   seq., is excluded from June 13, 2013, through June 27, 2013, with respect
15   to defendants YONI OVIDIO SOSA and JOSE GILBERTO LOPEZ. Time for trial
16   under the Speedy Trial Act, 18 U.S.C. §§ 3161 et. seq., is excluded from
17   June 13, 2013, through July 18, 2013, pursuant to 18 U.S.C. §3161(h)(7(A)
18   &(B)(iv) and Local Code T-4 with respect to defendant ANTONIO NAVARRO
19   SILVA.
20            IT IS SO ORDERED.
21   Date: June 19, 2013
22   _____________________________________
23                                           ___________________________________________
24                                           MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                             UNITED STATES DISTRICT COURT
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